          Case 2:19-cv-02280-PD Document 21 Filed 08/02/19 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VISIONQUEST NATIONAL, LTD.,                     :
               Plaintiff,                       :
                                                :
           v.                                   :       Civ. No. 19-2280
                                                :
CITY OF PHILADELPHIA, et al.,                   :
               Defendants.                      :

                                          ORDER

       AND NOW, this 2nd day of August, 2019, upon consideration of Plaintiff VisionQuest

National’s Request to file a responsive brief in excess of twenty-five pages (Doc. No. 20), it is

hereby ORDERED that Plaintiff’s Request (Doc. No. 20) is GRANTED in part. Plaintiff may

file a Response to Defendants’ Motion to Dismiss not to exceed thirty pages in length.


                                                           AND IT IS SO ORDERED.

                                                           /s/ Paul S. Diamond
                                                           _________________________
                                                           Paul S. Diamond, J.
